
PER CURIAM
Respondent was charged with multiple criminal offenses relating to substance use. Prior to the filing of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that James E. Moore, Jr., Louisiana Bar Roll number 21758, be and he hereby is suspended from the practice of law for a period of one year, retroactive to January 31, 2018, the date of his interim suspension.
IT IS FURTHER ORDERED that following his suspension, respondent shall be placed on probation for a period to coincide with the term of his recovery agreement with the Judges and Lawyers Assistance Program.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
Clark, J., would reject consent discipline.
